Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 1 of 44




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                    24-20113-CR-SMITH/HUNT
                        CASE NO. __________
                                         18 u.s.c. §371
                                         26 u.s.c. § 7201                                    MP
                                         26 u.s.c. § 7206(1)
                                         18 U.S.C. § 1001(a)(3)                    Mar 21, 2024
                                         31 u.s.c. §§ 5314 & 5322

  UNITED STATES OF AMERICA
                                                                                                MIAMI



  v.

  DAN ROTTAand
  SERGIO CERNEA,

         Defendants.
  ----------------
                                           INDICTMENT

         The Grand Jury charges:

         At all times relating to this Indictment, unless otherwise noted:

                                            Introduction

         1.      DAN ROTTA ("ROTTA") was a naturalized United States citizen who, for

  decades, concealed millions of dollars in assets and income from the Internal Revenue Service

  ("IRS") in Swiss bank accounts that he failed to report either on his tax returns or on reports of

  foreign bank and financial accounts. At times, the total value of ROTTA's unreported foreign

  assets reached approximately $20 million, and, between 2001 and 2020, ROTTA's investments

  generated tens of millions of dollars in unreported income. His conduct caused a significant tax

  loss to the United States.
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 2 of 44




         2.      Over the years, ROTTA conspired with his longtime friend and Brazilian citizen,

  SERGIO CERNEA ("CERNEA"), among others, to defraud the United States by concealing

  ROTTA's offshore assets and income from the IRS. ROTTA, CERNEA, and others: (i) obstructed

  an IRS audit by falsely denying that ROTTA had any foreign bank or financial accounts; (ii) listed

  CERNEA as the nominee owner of ROTTA's Swiss bank accounts; (iii) provided, and caused

  others to provide, false documents to the IRS; (iv) filed a false and fraudulent petition in the United

  States Tax Court; (iv) created sham trust structures designed to conceal ROTTA's assets and

  income; and (v) filed false tax returns that substantially underreported ROTTA's income. When it

  became evident that Swiss banks were cooperating with the United States and ROTTA could no

  longer hide his foreign financial accounts from U.S. authorities, ROTTA submitted a false

  application to the IRS's Voluntary Disclosure Practice, in which he admitted he had foreign

  financial accounts, but falsely claimed most of the assets in those accounts belonged to CERNEA

  to limit his exposure to tax penalties.

                                        Individuals and Entities

          3.     ROTTA was a naturalized United States citizen who lived on Fisher Island, Florida

  and in Aventura, Florida.

          4.     ROTTA was born in Romania in 1946. Shortly thereafter, ROTTA and his family

  moved to Israel and then Brazil. ROTTA moved to the United States in or around the 1970' s and

  became a naturalized United States citizen in 1978. ROTTA has resided in the United States ever

  since, and remained a citizen of Romania and Brazil.

         5.      ROTTA, a retired businessman, moved to Fisher Island, Florida, in or around 200 I.

  Prior to retirement, ROTTA ran import and export businesses in New York, including a watch and

                                                    2
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 3 of 44




  jewelry business, and an electrical distribution company. During that time, ROTTA resided in New

  York at multiple residences, including on Park Avenue and East End A venue in Manhattan, and

  in Oyster Bay, Long Island.

         6.      CERNEA was a Brazilian citizen who resided in Sao Paolo, Brazil. CERNEA was

  born in Romania in 1947 and he and his family moved to Brazil shortly thereafter. CERNEA was

  not a United States citizen.

         7.      CERNEA was ROTTA's longtime family friend. Their families were close both in

  Romania and Brazil. ROTTA and CERNEA have described themselves as being as close as

  brothers, and at times have referred to each other as cousins.

         8.      Conspirator 1 was a family friend of ROTTA who was a French citizen and

  resident, who, at some point, also became a citizen of Israel.

        Income and Foreign Financial Account Reporting Obligations of U.S. Taxpayers

         9.      U.S. citizens and residents who received income exceeding a threshold amount in

  any one calendar year were required to file a Form 1040, U.S. Individual Income Tax Return

  ("Form 1040"), for that calendar year with IRS by on or around April 15 of the following year. On

  that tax return, U.S. taxpayers were obligated to report their worldwide income, including all

  income earned from assets in foreign financial accounts (such as bank, brokerage, and securities

  accounts), among other types of income.

          10.    U.S. taxpayers also had an obligation to report to the IRS on Schedule B, "Interest

  and Ordinary Dividends" ("Schedule B") of their Form 1040 whether they had a fmancial interest

  in, or signature authority over, a financial account located in a foreign country in a particular year



                                                    3
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 4 of 44




  by checking either "Yes" or "No" in the appropriate box, and by identifying the appropriate

  countries where the foreign financial account(s) were maintained.

         11.     In addition, U.S. taxpayers who had a financial interest in, or signature authority

  over, one or more :financial accounts in a foreign country with an aggregate value of all such

  foreign financial accounts of more than $10,000 at any time during a particular year, were required

  to file with the U.S. Department of Treasury a Report of Foreign Bank and Financial Accounts

  ("FBAR"), using Form TD-F 90-22.1 prior to January 1, 2013, and, after January 1, 2013, the

  renamed FinCEN Form 114. On an FBAR, a taxpayer was required to disclose, among other

  things, the name of each financial institution at which each account was held, the account numbers,

  and the maximum value of each account during the calendar year. For calendar years up through

  2015, the filing deadline for an FBAR was on or about June 30 of the following year. For calendar

  years 2016 forward, the filing deadline for an FBAR was on or about April 15 of the following

  year, though filers failing to meet the FBAR annual due date of April 15 were granted an automatic

  extension to October 15 each year.

         12.     Article 27 of the Agreement on the Swiss Banks' Code of Conduct with Regard to

  the Exercise of Due Diligence between the Swiss Bankers Association and the signatory banks

  required, in part, that Swiss banks document the beneficial owner of the assets in a particular

  account. Generally, the beneficial owners of the assets were natural persons, and the banks were

  required to document the beneficial owner's identity on a Form A, a standard form promulgated

  by the Swiss Bank Association for documenting the beneficial owners' identity.




                                                  4
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 5 of 44




               ROTTA's Scheme to Conceal Assets and Income in Swiss Accounts

         13.    ROTTA owned and/or controlled at least two dozen :financial accounts in

  Switzerland between 1985 and 2020. ROTTA held his accounts using a pseudonym, foreign

  nominees, and layered ownership structures designed to conceal his assets and income from the

  IRS. Regardless of the structure, ROTTA was the true owner ofthe assets in those accounts.

         I.     ROTTA Held Swiss Bank Accounts from 1985 through 2008.

         14.    Between 1985 and 2008, ROTTA held assets in Swiss bank accounts using false

  names and offshore corporate structures designed to conceal his accounts from the IRS.

         15.    On or about January 3, 1985, ROTTA opened an account in Switzerland at a

  predecessor of Credit Suisse AG (referred to herein collectively with its predecessors as "Credit

  Suisse") in the name of a pseudonym. In connection with the opening of the account, ROTTA

  executed documents that allowed him to use a pseudonym instead of his real name on account

  documents. ROTTA's pseudonym account remained open until around 1989, at which point

  ROTTA transferred the account's assets to new accounts that he opened at Credit Suisse held in

  the name ofVima, Inc ("Vima").

         16.    In or around March 1989, ROTTA opened accounts in Vima's name at a corporate

  predecessor ofUBS AG (referred to herein collectively with its predecessors as "UBS") and Credit

  Suisse. Vima was a nominee entity owned and controlled by ROTTA. Vima was a bearer-share

  corporation - meaning whoever held Vima's share certificates owned Vima. On paper, a

  Liechtenstein foundation called the NAD Foundation held Vima's share certificates for ROTTA's

  benefit. In reality, the tiered corporate structure was designed to conceal ROTTA's ownership and

  control of the Vima accounts. In connection with the opening of the accounts, ROTTA identified

                                                 5
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 6 of 44




  himself as the sole beneficial owner of the assets in the accounts on the account-opening

  documents that recorded such information, known as a Form A, and gave himself signature

  authority over the accounts. On the account opening documents, ROTTA identified himself as a

  U.S. resident, and listed his residence as his address on Park Avenue in New York. ROTTA

  maintained the Vima accounts at UBS and Credit Suisse until in or around 2001, at which point

  he transferred the assets to new accounts held under a different ownership structure.

         17.     In or around April 1998, ROTTA opened two new foreign financial accounts in his

  own name at another Swiss bank, Bank Julius Baer. In connection with the opening of the accounts,

  ROTTA identified himself on the Form A as the sole beneficial owner of the assets in the accounts

  and gave himself signature authority over the accounts. ROTTA also identified himself as a

  resident and citizen of Brazil on all relevant account documents.

         18.     Two months later, in or around June 1998, ROTTA signed an instruction directing

  Bank Julius Baer to close those accounts and transfer the assets to new accounts held in the name

  of Pevima Limited, a nominee entity and bearer-share corporation formed in the British Virgin

  Islands. In connection with the opening of the Pevima Limited accounts, the bank recorded

  ROTTA as having power of attorney authority over the accounts and listed him on the Form A as

  the sole beneficial owner of the assets in at least one of the accounts. ROTTA also caused Bank

  Julius Baer to identify him as a resident and citizen of Brazil on all relevant account documents.

  ROTTA maintained the Pevima Limited accounts at Bank Julius Baer until around 2001.

         19.     Between November 2000 and July 2001, ROTTA closed the Pevima and Vima

  accounts at Credit Suisse, UBS, and Bank Julius Baer and directed the banks to transfer the assets

  to new accounts at those banks held in the name of Citaro International Business Corporation LTD.

                                                  6
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 7 of 44




  ("Citaro"). ROTTA's transfer of his assets to new accounts held in Citaro's name coincided with

  new Swiss bank requirements for identifying U.S. accountholders that took effect in or around

  January 2001.

         20.      In or around October 2000, ROTTA hired Beda Singenberger and his fiduciary firm

  Sinco Treuhand AG to create the Citaro ownership structure. Like Vima, Citaro was a nominee

  entity owned and controlled by ROTTA. On paper, Citaro was a bearer-share corporation formed

  in the British Virgin Islands, and its shares were held by the NAD Foundation for ROTTA's

  benefit. Despite the layered structure, ROTTA was the owner of, and controlled the assets in, the

  Citaro accounts. In connection with the opening of the accounts, ROTTA was identified on Forms

  A as the sole beneficial owner of the Credit Suisse and Bank Julius Baer Citaro accounts, and also

  executed a form for Sinco Treuhand identifying himself as the beneficial owner of the assets in the

  Citaro accounts. ROTTA also caused UBS, Credit Suisse, and Bank Julius Baer to identify him

  only as a resident and citizen of Brazil on all relevant account documents, even though he was a

  citizen and full-time resident of the United States.

         21.      By 2001, ROTTA had over $19 million in net assets in Switzerland spread over the

  Citaro accounts at UBS, Credit Suisse, and Bank Julius Baer. The assets in those accounts

  generated substantial income each year that ROTTA used to fund his lifestyle in the United States.

  Between 2001 and 2003, ROTTA caused the transfer of over $1,500,000 from the Citaro accounts

  to his accounts in the United States, including, but not limited to, the following:




                                                    7
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 8 of 44




                     UBS               ROTTA            March 13, 2001          $600,000
                 Credit Suisse         ROTTA           November 7, 2001          $83,000
                 Credit Suisse         ROTTA           Februa 7, 2002           $400,000
                Bank Julius Baer       ROTTA           November 4, 2002         $150,000
                 Credit Suisse         ROTTA                                    $350,000
                Bank Julius Baer       ROTTA


          22.      In or around 2003, ROTTA closed the Citaro accounts at UBS, Credit Suisse, and

  Bank Julius Baer and transferred the assets to newly opened accounts at those banks held under

  the name of Sky Delta Limited ("Sky Delta"), a Hong Kong corporation.

         23.       Sky Delta was another nominee corporate entity created by Singenberger and his

  associates, and its ownership structure mirrored Citaro's: the NAD Foundation held Sky Delta's

  shares in trust for ROTTA's benefit. Despite the layered structure, ROTTA owned and controlled

  the assets in the Sky Delta accounts. In connection with the opening of the Sky Delta accounts,

  ROTTA was identified as the sole beneficial owner on the Forms A for each of the Sky Delta

  accounts at UBS, Credit Suisse, and Bank Julius Baer. ROTTA also caused UBS, Credit Suisse,

  and Bank Julius Baer to identify him only as a resident and citizen of Brazil on all relevant Sky

  Delta account documents even though he was a citizen and full-time resident of the United States.

         24.       Between 2003 and 2008, the Sky Delta accounts at UBS, Credit Suisse, and Bank

  Julius Baer collectively held assets valued between approximately $14 and $23 million that

  annually produced substantial investment income. ROTTA regularly used the income generated

  by the assets in the Sky Delta accounts to fund his lifestyle in the United States. Between 2004 and

  2008, ROTTA caused the transfer of over $5,700,000 from the Sky Delta accounts to his domestic

  accounts, including accounts in his own name and accounts held in the name of Pevima

                                                   8
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 9 of 44




 Corporation, a New York and Florida corporation that ROTTA used to hold real estate and pay

  personal expenses, including, but not limited to, the following:



        Credit Suisse              ROTTA                   March l , 2004         425,000
       Bank Julius Baer       PevimaCo oration             Ma 17, 2004           $115,000
        Credit Suisse              ROTTA                Se tember 22, 2004       $125,000
       Bank Julius Baer       PevimaCo oration          November 15, 2004        $500,000
       Bank Julius Baer       PevimaCo oration            March 05, 2005         $150,000
        Credit Suisse              ROTTA                    Ma 9, 2005           $500,000
       Bank Julius Baer       PevimaCo oration           Februa 21, 2006         $290,000
       Bank Julius Baer       PevimaCo oration            March 16, 2006         $285,000
        Credit Suisse         PevimaCo oration             Ma 26, 2006           $100,000
        Credit Suisse         PevimaCo oration            Au ust 14, 2006        $500,000
       Bank Julius Baer       PevimaCo oration           Janua 24, 2007          $500,000
            UBS               PevimaCo oration             A ril 19, 2007        $200,000
        Credit Suisse         PevimaCor oration           Au ust 29, 2007        $500,000
       Bank Julius Baer       PevimaCo oration            Janua 9, 2008          $300,000
        Credit Suisse              ROTTA                   Ma 26,2008            $500,000
        Credit Suisse                     ation         November 12, 2008        $500,000
       Bank Julius Baer                                  December 5, 2008


         25.     ROTTA failed to file an FBAR between calendar years 2001 and 2008 reporting

  his interest in either the Citaro or Sky Delta accounts. Furthermore, ROTTA filed and/or caused

  the filing of false Forms 1040 for tax years 2001 through 2008 that falsely and fraudulently: (i)

  underreported his total income by omitting the income generated by his investments in those Swiss

  accounts, and (ii) failed to report his ownership interest in those Swiss accounts on Schedules B

  of his Form 1040.

         26.     In or around 2009, ROTTA's domestic life insurance providers asked him to

  explain the source of the premium payments he had made from his Swiss accounts. In response,

  ROTTA andCERNEA provided false written statements to the life insurance providers, explaining


                                                   9
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 10 of 44




  that CERNEA was paying ROTTA's life insurance premiums on behalf of ROTTA's deceased

  uncle for the benefit of ROTTA's son. The deceased uncle died in Brazil in 1971, over twenty

  years before ROTTA's son's birth.

          II.     ROTTA Closed and Reopened His Foreign Financial Accounts between 2008
                  and 2009 in Response to the United States' Investigation of Swiss Banks.

          27.     In or around 2008, it was publicly reported that UBS was under criminal

   investigation in the United States for helping U.S. taxpayers evade income taxes by concealing

   their accounts behind offshore corporate structures. ROTTA followed the news reports of the

   investigation, and, around that time, began transferring assets from the UBS Sky Delta accounts

   to the Credit Suisse Sky Delta account.

          28.     In or around December 2008, ROTTA established a relationship with a new Swiss

   bank, Banque Bonhote et Cie ("Banque Bonhote" or "Bonhote"), and opened another Sky Delta

   account at Banque Bonhote. In or around 2009, ROTTA caused the transfer of the remaining assets

   in the UBS Sky Delta accounts to the new Banque Bonhote Sky Delta account, and terminated his

   relationship with UBS. In connection with the account opening, ROTTA was identified as the sole

   beneficial owner on the Form A for the Bonhote Sky Delta account. ROTTA was identified only

   as a citizen and resident of Brazil on the Bonhote Sky Delta account documents despite being a

   citizen and full-time resident of the United States.

          29.     In or around March 2009, it was publicly reported that U.S. authorities had

   expanded their criminal investigation to include enablers like Singenberger and his associates for

   helping U.S. taxpayers set up complicated offshore structures to hold their undeclared Swiss bank

   accounts and thereby evade their income taxes and reporting requirements. Shortly thereafter,
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 11 of 44




  ROTTA engaged Bonhote Trust SA ("Bonhote Trust"), a fiduciary services company owned by

  Banque Bonhote, to replace Singenberger and Sinco Treuhand as his Swiss fiduciary.

         30.     ROTTA worked with Bonhote Trust to create a new nominee structure to hold his

  assets. To transition ROTTA's assets from the Sky Delta accounts to the new structure, ROTTA

  caused the transfer of his assets in the Sky Delta accounts at Credit Suisse, Bank Julius Baer, and

  Bonhote to new accounts held in ROTTA's name at those banks. As a result, in or around April

  2009, ROTTA closed the Credit Suisse, Bank Julius Baer, and Bonhote Sky Delta accounts and

  ordered the banks to transfer the assets to new accounts opened in his own name at those banks.

         31.     Between April and September 2009, ROTTA held accounts in his own name at

  Credit Suisse, Bank Julius Baer, and Banque Bonhote. ROTTA identified himself on the Forms A

  as the beneficial owner of the assets in the accounts held in his own name and gave himself

  signature authority over those accounts. On all relevant account documents, ROTTA identified

  himself as a resident and citizen of Brazil, and signed false certifications attesting that he was

  neither a U.S. citizen nor a U.S. person subject to United States income tax withholding

  requirements. At that point, ROTTA had been a U.S. citizen and resident for over 30 years.

         32.     By September 2009, ROTTA closed the accounts in his own name at Credit Suisse,

  Bank Julius Baer, and Banque Bonhote and directed the banks to transfer the assets in those

  accounts to new accounts at Credit Suisse and Banque Bonhote held in the name of Edelwiss

  Corporate Limited ("Edelwiss"). Edelwiss was a nominee corporate entity formed in the British

  Virgin Islands by Bonhote Trust. On paper, Edelwiss's shares were held by The Putzo Foundation,

  a Liechtenstein Foundation established by Bonhote Trust, for ROTTA's benefit. Despite the

  layered structure, ROTTA owned the assets in the Edelwiss accounts. In connection with the

                                                  11
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 12 of 44




   opening of the Edelwiss accounts, ROTTA was recorded on the Forms A as the sole beneficial

   owner of the assets in the Edelwiss accounts. ROTTA continued to identify himself only as a

   Brazilian national and resident on the relevant Edelwiss account documents, even though he was

   a citizen and full-time resident of the United States.

          33.     In conjunction with the opening of the Edelwiss accounts, ROTTA entered a

   contract to rent a safe deposit box at Credit Suisse. To pay the fees associated with the safe deposit

   box rental, ROTTA opened an account in his own name. ROTTA maintained that account between

   2009 and 2014. On account opening documents, ROTTA identified himself as the owner of the

   account and as a Brazilian citizen and resident, even though he was a citizen and full-time resident

   of the United States.

          34.     Between 2009 and 2011, the Edelwiss accounts at Credit Suisse and

   Banque Bonhote collectively held substantial assets that annually produced substantial income.

   Similar to ROTTA's prior structures, Bonhote Trust formally managed the Edelwiss accounts, and

   ROTTA lacked formal signature authority over the accounts. Despite the appearance that ROTTA

   lacked control over the accounts, ROTTA controlled the accounts and instructed Credit Suisse and

   Bonhote in the disbursement of account assets. Indeed, between 2009 and 2011, ROTTA caused

   the transfer of millions of dollars from the Edelwiss accounts to his domestic accounts, including

  but not limited to the following:




                                                    12
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 13 of 44




                Bonhote                                  October 26, 2009          $450,000
              Credit Suisse                              November 3, 2009          $400,000
              Credit Suisse                               Ma 18, 2010              $300,000
              Credit Suisse                               June 14, 2010            $375,000
              Credit Suisse                              October 28, 2010          $325,000
              Credit Suisse                                                        $350,000
                                                                                   $302,000
                                                                                   $299 000


         35.       ROTTA failed to file an FBAR for calendar years 2009 through 2011 reporting his

  interest in either the accounts in his own name and in the Edelwiss accounts. Furthermore, ROTTA

  filed and/or caused the filing of false Forms 1040 for tax years 2009 through 2011 that falsely and

  fraudulently: (i) underreported his total income by omitting the income generated by his

  investments in those accounts, and (ii) failed to report his ownership interest in those accounts on

  Schedules B of his Form 1040.

       III.        ROTTA and CERNEA Conspired to Prevent his UBS Accounts from Being
                   Disclosed to the IRS.

         36.       On or about February 18, 2009, UBS entered into a Deferred Prosecution

  Agreement with the United States in which it admitted that it conspired to defraud the United

  States. As part of the agreement, it agreed to immediately provide the United States government

  with the identities of, and account information for, certain United States customers. It was widely

  reported that the disclosure of account information was an unprecedented, paradigm-shifting event

  in Swiss banking that for decades, had shielded account information behind what had seemed, until

  then, to be an impregnable legal wall of secrecy.

         37.       In or around 2010, the Swiss Federal Tax Administration ("SFTA") notified

  ROTTA that his UBS Vima account records had been flagged for potential disclosure by UBS in

  response to an IRS summons. The SFTA was required to notify ROTTA as the beneficial owner
                                            13
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 14 of 44




   of the assets in the Vima account to give him an opportunity to challenge the disclosure to the IRS.

   In response, ROTTA provided false documents to the SFTA attesting that he was not a U.S.

   taxpayer and that he lived in Brazil.He falsely attested in a signed affidavit that:

          I hereby declare that I am a Brazilian citizen ... and that in the last 15 years I have
          had full time employment and resided at various addresses in Sao Paulo, Brazil as
          stated by the attached affidavits.

   CERNEA also signed a false affidavit claiming that ROTTA resided in Brazil between 1995 and

   2010, which ROTTA also provided to the SFTA in support of his claim he was not a U.S. person.

   In reality, ROTTA resided in New York and Florida between 1995 and 2010, and ROTTA was

   not employed in Brazil. The SFTA accepted ROTTA and CERNEA's false representations that

   ROTTA was neither a U.S. person nor subject to U.S.income tax and accordingly did not transmit

   the Vima accounts to the IRS under ROTTA's name.

          38.     However, records in the UBS Vima account showed that ROTTA's close relative

   who also lived in the United States ("Relative 1") had signature authority over a safe deposit box

   account tied to the UBS Vima account. The SFTA ultimately produced records related to

  ROTTA's UBS Vima account under Relative 1 's name in or around 2011.

         IV.      ROTTA Conspired with CERNEA and Others to Change his Offshore
                  Account Structure in 2011 in Response to an IRS Audit.

          39.     In or around July 2011, the IRS began an audit of Relative 1 based in part on the

  UBS Vima account documents it received from the SFTA. On or about August 4, 2011, an IRS

  Revenue Agent intervfewed Relative 1. Shortly thereafter, in or around September 2011, the

  Revenue Agent closed the audit of Relative 1 and referred ROTT A for audit as the possible owner

  of the assets in the UBS Vima account. Not long after the IRS interviewed Relative 1, ROTTA



                                                    14
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 15 of 44




  enlisted CERNEA to serve as the nominee owner of the Edelwiss accounts to further conceal his

  ownership and control of the assets in the Edelwiss accounts from the IRS.

         40.     Between October and November 2011, ROTTA worked with Bonhote Trust to

  create a new structure, the Putzo Settlement, that made it appear, on paper, that CERNEA owned

  the assets in the Edelwiss accounts. The Putzo Settlement was a Liechtenstein trust nominally

  settled by CERNEA to hold the shares of Edelwiss for the benefit of ROITA and his family.

  ROTTA was named the "protector" of the Putzo Settlement, in which capacity ROTTA maintained

  control over the accounts without expressly being named as a beneficiary. ROTTA and CERNEA

  caused Credit Suisse and Banque Bonhote to remove ROTTA as the beneficial owner of the assets

  in the Edelwiss accounts and caused CERNEA to be listed as the sole beneficial owner for the first

  time on new Forms A executed in November 2011.

         41.     Between 2011 and 2016, CERNEA served as the nominee owner of the Edelwiss

  accounts and met with various Swiss bankers and other fiduciaries in that capacity. Despite the

  nominal change in ownership, ROTTA maintained dominion and control over the assets in the

  Edelwiss accounts by directing the investment of his assets and their distribution for his own

  benefit, including, but limited to, taking the following actions:

         a.      In or around October 2014, ROTTA sent a detailed list of bond purchase

  instructions from his AOL email address to Bonhote Trust.

         b.      In or around July 2016, ROTTA sent an instruction from his AOL email address to

  Bonhote Trust to transfer $30,000 from the Bonhote Edelwiss account to a luxury watch dealer in

  Miami ("Miami Watch Dealer"). When asked for an explanation by Bonhote representatives,



                                                   15
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 16 of 44




  ROTTA explained that Sergio had purchased watches from the Miami Watch Dealer. When asked

  if Sergio could confirm the purchase, ROTTA responded:

          For obvious reasons Sergio wants NO communications. That is why you NEVER
          received or sent communications to him directly. I believe th at [sic] was made clear
          years ago.

  In reality, ROTTA transferred the money as payment for watches ROTTA purchased.

          42.     ROTTA failed to file an FBAR between calendar years 2002 and 2016 reporting

   his interest in the Edelwiss accounts. Furthermore, ROTTA filed and/or caused the filing of false

   Forms 1040 for tax years 2012 through 2016 that falsely and fraudulently: (i) underreported his

   total income by omitting the income generated by his investments in the Edelwiss accounts, and

   (ii) failed to report his ownership interest in the Citaro accounts on Schedules B of his Form 1040.

          V.      ROTTA Conspired with CERNEA and Others to Obstruct an IRS Audit and
                  Subsequent Tax Court Litigation.

          43.     In or around 2011, the IRS began an audit of ROTTA to determine, among other

   things, whether he had any unreported foreign financial accounts and earned income from the

   assets in those accounts for tax years 2008 through 2010. The IRS later expanded its audit to

   include tax years 2011 through 2013. To conceal the accounts and obstruct the audit, ROTTA

   falsely denied having unreported foreign financial accounts or income and conspired with

   CERNEA and others to conceal his offshore accounts from the IRS. In or around 2014, the IRS r

  assessed deficiencies related to ROTTA's unreported income in 2008 through 2010. ROTTA

   challenged those assessments in United States Tax Court by filing a petition that repeated the same

   false claims that he had presented during the audit. During the litigation, CERNEA and

   Conspirator 1 provided additional false documents and testimony to the IRS in support of those

  fabricated claims. In or around 2017, based on the false documents, statements, and testimony
                                                   16
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 17 of 44




  ROTTA, CERNEA, and Conspirator 1 provided during the litigation, the IRS consented to settle

  the Tax Court litigation and related audit with ROTTA and agreed that ROTTA owed neither

  additional income tax nor penalties for 2008 through 2013.

         44.    Throughout the audit and subsequent United States Tax Court litigation, ROTTA

  employed numerous accountants and attorneys to represent him before the IRS and before the

  United States Tax Court, including Accountant 1, Accountant 2, Attorney 1, Attorney 2, Attorney

  3, and Attorney 4, among others (collectively, the "Audit Representatives").

         A.     ROTTA Falsely Denied Having Foreign Financial Accounts.

         45.    Throughout the audit, ROTTA stonewalled the IRS by falsely denying that he

  owned or controlled any foreign financial accounts and causing the Audit Representatives to

  falsely deny that he had any foreign financial accounts. ROTTA denied having unreported foreign

  financial accounts in telephone interviews with the IRS, during in-person interviews, in written

  correspondence to the IRS, and even during two different sworn depositions taken under penalties

  of perjury with the IRS. ROTTA also caused the Audit Representatives to repeat the same false

  claims. ROTTA knew that the SFTA had not provided the IRS records of either the Sky Delta or

  Edelwiss accounts, and he, therefore, knew that his blanket denials and those made by the Audit

  Representatives could not be rebutted with documentary evidence.

         B.     ROTTA Conspired with CERNEA and Others to Provide False Explanations
                for ROTTA's Receipt of Foreign Funds.

         46.    By November 2012, the IRS had obtained copies of ROTTA's domestic bank

  records, which revealed that, during 2008, ROTTA received $1,450,000 in transfers from the Sky

  Delta accounts. When confronted with this fact, ROTTA told an evolving story to explain the

  source of the funds. At the outset, ROTTA and his Audit Representatives falsely claimed that the
                                                17
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 18 of 44




  money he received in 2008 from Sky Delta was a loan from two friends who were non-U.S.

  persons, but had no documentation to support the loan. ROTTA claimed that he would repay the

  loan he sold his home on Oyster Bay.

         47.     Eventually, ROTTA provided false documents to the IRS through the Audit

  Representatives to support the fabricated assertion that the funds received in 2008 from the Sky

  Delta accounts constituted a loan, allegedly received from two individuals who were Romanian

  nationals and citizens and residents of France (hereinafter, the "French Family Friends"). Among

  the false documents ROTTA provided to the IRS was a copy ofa promissory note purportedly

  evidencing the loan, along with letters seemingly intended to bolster the note's legitimacy,

  including: (i) a letter from a New York attorney who had represented ROTTA and was a personal

  friend ("Attorney 5"); (ii) a letter from Conspirator 1; (iii) the son-in-law and purported successor

  in interest to the French Family Friends who had allegedly provided the loan; and (iv) and a letter

  from CERNEA. Each of these individuals claimed to have maintained copies of the promissory

  note and provided it to ROTTA upon request.

         48.     The IRS Revenue Agent who handled the audit subsequently inquired about

  additional transfers ROTTA received from Sky Delta, which totaled $850,000 in 2009, and from

  Edelwiss, which totaled $2,801,000 between 2009 and 2011. In response, ROTTA falsely claimed

  that these transfers also were loans and caused the Audit Representatives to provide the IRS

  additional false promissory notes and letters from CERNEA and Conspirator 1 indicating they had

  found those notes among their records. ROTTA provided the IRS additional false promissory notes

  evidencing "loans" purportedly received from Edelwiss in 2012, 2013 and 2014, as well as

  additional false affidavits and letters from CERNEA evidencing those loans.

                                                   18
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 19 of 44




         49.     Despite ROTTA's efforts to deny ownership of any foreign financial accounts, on

  or about June 24, 2014, the IRS concluded the audit of tax years 2008 through 2010 by issuing

  ROTTA a Notice of Deficiency in which it proposed income tax deficiencies and penalties for the

  following years in the following amounts:

                                '.;>,'--:�:l:�i : ,_ - 1 -   -
                      2008               $549,601.00
                      2009               $481,918.00                     $361,438.50
                      2010               $318,499.00                     $238,874.25

         50.     The deficiencies assessed for 2008, 2009, and 2010 were based in part on the IRS

  rejecting RQTTA's claims that money received from Sky Delta and Edelwiss were loans and

  instead determined ROTTA received "other income" from these entities in the following amounts:

                                                                      ""11iil1llitet�iea;iB1fful{J�
                                                                           Sk Delta
                                           $1,700,000
                                           $1,149,000                       Edelwiss

         C.      ROTTA Conspired with CERNEA and Others to Bring Funds Onshore
                 During his Audit.

         51.     While the IRS audit and Tax Court litigation were ongoing, ROTTA maintained

  between $18 and $24 million in assets .in the Credit Suisse and Bonhote Edelwiss accounts.

  ROTTA continued to actively manage the investments of those accounts and continued to direct

  transfers from the Edelwiss accounts to himself for his benefit. However, to conceal his use of the

  funds while he was under audit, ROTTA began routing his transfers from his foreign financial

  accounts through domestic bank accounts held in the names of CERNEA and others.

         52.     For example, ROTTA directed transfers from his offshore accounts to domestic

  bank accounts held in CERNEA's name. In or around September 2012, a domestic Citibank

                                                                 19
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 20 of 44




  account was opened in CERNEA's name (''the CERNEA Citibank account"), which was a

  nominee account under ROTTA's dominion and control. ROTTA maintained a document

  containing account information for the CERNEA Citibank account at his home on Fisher Island,

  including login information for online banking; debit card numbers, expiration dates, and security

  codes; wire instructions for the account; and answers to the account's security questions. The

  usemame and password for the CERNEA Citibank account included information personal to

  ROTTA, rather than CERNEA. In or around May 2015, Attorney 6, a Florida lawyer who

  represented ROTTA in various matters for over a decade and was ROTTA's friend, became an

  authorized signer on the CERNEA Citibank account.

          53.    ROTTA used the CERNEA Citibank account as a passthrough to obscure his

   transfers from the Edelwiss accounts. Between November 2012 and March 2016, the CERNEA

   Citibank account received 10 wire transfers totaling just over $3.7 million from the Edelwiss

  accounts, almost all of which was then transferred to domestic accounts owned and/or controlled

  by ROTTA and to third parties as payment for ROTTA's benefit. At times, ROTTA directed

  Attorney 6 to make transfers from the CERNEA Citibank account for ROTTA's benefit.

          54.    In or around March 2015, representatives from Citibank asked ROTTA to provide

  information about CERNEA in connection with opening an account purportedly funded by

  CERNEA. ROTTA provided Citibank a notarized statement from CERNEA, which explained that

  CERNEA had earned money and inherited additional funds from his parents. The statement from

  CERNEA also indicated that "Sergio had a close relationship and worked closely with Benno

  Bacal (Dan's uncle) that left a substantial amount of money with Sergio to be given to Dan's

  descendent ... The majority of the assets that will fund the trust are from the Bacal moneys."

                                                 20
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 21 of 44




          55.     During the audit, ROTTA sought to conceal his control of the Edelwiss accounts

   by directing transfers through attorney trust accounts belonging to Attorney 5 and Attorney 6 For

   example:

          a.      In or around July 2016, ROTTA transferred $75,000 from the Credit Suisse

   Edelwiss account to Attorney S's trust account. Shortly thereafter, ROTTA, directed Attorney 5

   via email to transfer $75,000 from Attorney S's trust account to a car dealership in the Miami area

   as payment forROTTA's new Porsche 911 Targa sports car. Attorney 5 transferred the money to

   the dealership to complete the purchase ofROTTA's new sports car.

          b.      In or around February 2016, ROTTA transferred $94,000 from the Credit Suisse

   Edelwiss account to Attorney S's trust account. The next day, Attorney 5 transferred $94,000 to

   Attorney 6's trust account.

          c.      At the same time,ROTTA also transferred $55,000 from the Credit Suisse Edelwiss

   account to Attorney 6's attorney trust account. Shortly thereafter, ROTTA caused Attorney 6 to

   transfer $126,755 from his attorney trust account to make a payment to his condo building for a

   building assessment.

          56.     During the audit,ROTTA and CERNEA also caused the formation of The Sergio

   2014 Trust, a domestic trust purportedly settled by CERNEA in 2014 for the benefit of ROTTA

   and his son. On paper, it appeared that CERNEA, the grantor, had contributed money to the trust

   to provide for ROTTA and his son, the beneficiaries. In fact, ROTTA funded the trust with

   transfers of his own money from the Edelwiss accounts. ROTTA proceeded to use the funds he

   put in The Sergio 2014 Trust for his own benefit. There were three trustees of The Sergio 2014

   Trust, including Attorney 6, who was primary managing trustee of The Sergio 2014 Trust.

                                                   21
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 22 of 44




         D.      ROTTA and CERNEA Conspired to Keep Swiss Accounts Open and Prevent
                 Their Disclosure to the IRS.

         57.     In or around 2013, it was publicly reported in Miami that ROTTA had been

  sentenced to a term of imprisonment in the United States. News of ROTTA's arrest and term of

  imprisonment made its way to Switzerland, and in response Credit Suisse flagged ROTTA's

  Edelwiss accounts for termination as U.S.related accounts.In response, ROTTA and CERNEA

  went to Switzerland in or around December 2013, and Rotta provided Credit Suisse with a letter

  in which he made a number of false representations, including, but not limited to: that he was not

  a U.S. citizen, that he was not substantially present in the United States, and that in the future he

  would be in the United States on a temporary basis (for stays of no more than four months a year).

         E.      ROTTA and CERNEA Conspired to Present False Claims to the United States
                 Tax Court to Defeat the IRS's Assessment.

         58.     On or about September 24, 2014, ROTTA caused to be filed a petition in United

   States Tax Court to contest the IR S's audit determinations of tax deficiencies for tax years 2008

  through 2010. The petition repeated ROTTA's false assertions that he did not have any foreign

  financial accounts and that the funds he received from Sky Delta and Edelwiss were loans.

         59.     ROTTA's Tax Court petition claimed that, in 2008, ROTTA "asked long-time

  family friends ... for loans;" that the French Family Friends agreed to advance him funds; and

  that the money would be repaid when ROTTA sold a home he owned in Oyster Bay, New York.

  According to the petition, the French Family Friends "chose to have the loans made by Sky Delta,

  Ltd., a Hong Kong Company." In total, the petition claimed that, through Sky Delta, the French

  Family Friends had advanced ROTTA $1,450,000 (plus interest) in 2008 and $850,000 (plus

  interest) in 2009. In support of these claims, an Audit Representative attached to the petition

                                                  22
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 23 of 44




  "Promissory Notes" purportedly executed by ROTTA in favor of the French Family Friends "in

  the form in which it was presented to him."

         60.     In the petition, ROTTA further falsely claimed that the funds he received from

  Edelwiss in tax years 2009 and 2010 were loans from CERNEA. Specifically, the petition claimed

  that in 2009, after the French Family Friends died, ROTTA approached CERNEA for a loan, and

  CERNEA agreed to lend him $850,000, which was disbursed in two payments through Edelwiss.

  According to the petition, CERNEA then advanced ROTTA an additional $1 million in 2010

  through Edelwiss. The petition claimed that CERNEA, like the French Family Friends, expected

  repayment after ROTTA sold his Oyster Bay home. Finally, the petition falsely claimed that

  ROTTA signed promissory notes in favor of Edelwiss to repay these loans.

         61.     In the petition, ROTTA falsely claimed that there were no deficiencies for the

  relevant years and falsely alleged that the French Family Friends owned the assets in the Sky Delta

  accounts and CERNEA owned the assets in the Edelwiss accounts.

         62.     In approximately June 2015, ROTTA's Audit Representative provided the IRS with

  an affidavit from CERNEA and a declaration from Conspirator 1, which perpetuated the false

  narrative that the funds ROTTA received from the Sky Delta and Edelwiss accounts were loans.

         63.     In or around July and August 2016, CERNEA and Conspirator 1 traveled to New

  York and sat for interviews with IRS counsel regarding the "loans" ROTTA purportedly received

  from the Sky Delta and Edelwiss accounts. CERNEA falsely represented that he owned Edelwiss;

  that he extended loans to ROTTA based on their close personal relationship; and that ROTTA

  would repay the loans made through both Sky Delta and Edelwiss. Conspirator 1 falsely

  represented that the funds transferred through Sky Delta to ROTTA were bona fide loans from the

                                                  23
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 24 of 44




  French Family Friends; and that the loans remained outstanding obligations, which Conspirator 1

  expected ROTTA to repay.

         64.     In or around December 2016, ROTTA finalized the sale of his home in Oyster Bay,

  New York for approximately $6,280,000. Shortly after the closing, ROTTA wrote a $4,400,000

  million check to CERNEA and a $750,000 check to Conspirator 1, noting on each that the checks

  were loan repayments. ROTTA then presented through his Audit Representative to the IRS

  evidence of the sale of the Oyster Bay home and copies of the checks payable to CERNEA and

  Conspirator 1 as proof that the payments ROTTA received from Sky Delta and Edelwiss were

  loans that had been satisfied.

         65.     The IRS accepted evidence of the purported loan "repayments" as proof of the

  loans. On or about February 8, 2017, the IRS consented to settle the Tax Court litigation with

  ROTTA and agreed that ROTTA owed neither additional income tax nor penalties for 2008

  through 2010. The IRS reached this decision based, at least in part, on the interviews of Conspirator

  1 and CERNEA, the alleged loan documents, and the purported evidence of loan repayment. On

  or about March 10, 2017, the IRS also agreed to settle ROTTA's 2011 through 2013 audit, which

  was on appeal with the IRS. For the same reasons as in the Tax Court case, based upon the

  fraudulent documents and false testimony it received, the IRS agreed that ROTTA owed no

  additional income tax or penalties for 2011 through 2013.

         66.     The "loan repayments" were fake. The money was ultimately returned to accounts

  controlled by ROTTA within months of the closure of the IRS audit, as demonstrated below:

         a.      Between on or about January 25, 2017, and May 1, 2017, checks totaling

  $4,400,000---equal to the full amount of ROTTA's purported repayment of the Edelwiss loans-

                                                   24
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 25 of 44




  were written from a Regions Bank account held in CERNEA' s name and deposited into The Sergio

  2014 Trust account at Morgan Stanley. Because ROTTA and his son were the beneficiaries of The

  Sergio 2014 Trust, ROTTA retained ownership and control over the purported $4,400,000

  "repayment" to CERNEA.

         b.      On or about January 27, 2017, ten days after ROTTA's purported repayment of the

  Sky Delta loans, a check payable to CERNEA in the amount of $750,000 - the full amount of the

  Sky Delta "loans" was issued from Conspirator 1 's Citibank account. That check was deposited

  into the CERNEA Citibank account on or about February 1, 2017.

         c.      Within a week of the $750,000 deposit to CERNEA's Citibank account, a total of

  $750,000 was wired from the account to two separate accounts held in the name of The Sergio

  2014 Trust. Therefore, ROTTA likewise retained ownership and control over the $750,000

  "repayment" to Conspirator 1.

         F.      ROTTA Conspired with CERNEA to Create Sham Trost Structures to
                 Continue Evading Taxes.

         67.     In or around November 2016, ROTTA began closing the Edelwiss accounts and

  transferring the assets to accounts held in the name of The Majestic Trust at another Swiss financial

  institution headquartered in Zurich, Switzerland ("Swiss Bank 1 ").

         68.     ROTTA and CERNEA caused the formation of The Majestic Trust in or around

  October 2015. The Majestic Trust, like The Sergio 2014 Trust, was a sham. On paper, it appeared

  that CERNEA, the grantor, had contributed money to the trust to provide for ROTTA and his son,

  the beneficiaries. In fact, ROTT A funded the trust with transfers of his own money from the

  Edelwiss accounts. The trustees of The Majestic Trust were the same as The Sergio 2014 Trust,

  and Attorney 6 was the primary managing trustee of the trust.
                                               25
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 26 of 44




         69.    ROTTA caused Attorney 6 to open accounts in the trust's name at Swiss Bank 1 on

  or about November 14, 2016. In connection with the account opening, Attorney 6 identified The

  Majestic Trust as the owner of the account and, as trustee, retained signature authority over the

  accounts. Attorney 6 also caused Swiss Bank 1 to document CERNEA as the settlor of the trust,

  and to record ROTTA and his son as beneficiaries. This made it appear, on the Swiss Bank 1

  account documents, that CERNEA funded The Majestic Trust accounts for the benefit of ROTTA

  and his son. In reality, ROTTA owned the assets in the Edelwiss accounts that funded The Majestic

  Trust. Furthermore, ROTTA continued to manage the assets in The Majestic Trust accounts as if

  they were his own.

         70.    In or around 2018, the trustees amended The Majestic Trust to give them discretion

  to pay to CERNEA as much of The Majestic Trust's net income and/or principal as they

  determined. Thereafter, ROTTA caused distributions from The Majestic Trust's accounts to be

  made to the CERNEA Citibank account, and other accounts under ROTTA's control. Thereafter,

  ROTTA claimed to The Majestic Trust's accountants that a portion of the trust's income was

  distributed to CERNEA, thereby substantially lowering the income ROTTA reported from the

  trust, and the taxes ROTTA paid on that income. For example:

         a.     Between December 2018 and May 2019, ROTTA exchanged emails with an

  employee of Swiss Company 1, a luxury watch and clock manufacturer located in the Canton of

  Geneva, Switzerland, in which ROTTA arranged to purchase a specific luxury timepiece as a

  graduation gift for his son and pick it up in Geneva on May 15, 2019. In or about May 13, 2019,

  CHF 51,000 was wired from the account of The Majestic Trust at Swiss Bank 1 to Swiss Company

  1 for the purchase of the watch. In or about April 2020, ROTTA provided his return preparer with

                                                 26
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 27 of 44




   a document that falsely identified the transfer of CHF 51,000 Swiss Company 1 as a distribution

   to CERNEA.

          G.      ROTTA Filed a False Voluntary Disclosure.

          71.     By in or around 2019, ROTTA was aware that the SFTA would produce certain of

   his Swiss account records to the IRS in response to a foreign evidence request from the United

   States. ROTTA was aware those records would reveal that he had made false statements during

   his audit and that he, CERNEA, and others had defrauded the IRS.

          72.     In or around June 2019, ROTTA engaged U.S. counsel and attempted to make a

   voluntary disclosure to the IRS to limit his exposure to criminal prosecution while simultaneously

   and fraudulently attempting to limit the penalties he would have to pay the IRS. At that time, under

   the IRS's Voluntary Disclosure Practice, certain taxpayers who committed tax or tax-related

   crimes and had criminal exposure due to their willful violation of the law could seek to possibly

   avoid criminal prosecution, at the discretion of the IRS. To do so, taxpayers had to become tax

   compliant and make a truthful, timely, and complete disclosure of their past misconduct. Among

   other things, taxpayers who willfully failed to report their foreign financial accounts could be

   subject to a penalty of 50% of the highest year's unreported balance.

          73.     However, ROTTA submitted a false voluntary disclosure application in which he

   disclosed his interest in the Edelwiss accounts, and falsely claimed that only $2 million of the

   assets in the accounts belonged to him, while the rest belonged to CERNEA. Had the IRS accepted

  ROTTA's false claims, this could have capped his penalty at approximately $1 million.

          74.     On or about July 9, 2019, ROTTA, through his attorney, submitted to the IRS Part

   I of Form 14457, "Voluntary Disclosure Practice Preclearance Request and Application"

                                                   27
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 28 of 44




  ("Voluntary Disclosure Application"). In that application, ROTTA admitted that he owned,

  controlled, or was the beneficial owner of the Edelwiss accounts at Credit Suisse and Banque

  Bonhote. This statement was in direct contrast to what he had previously told the IRS and claimed

  in his Tax Court petition.

         75.     On or about November 8, 2019, ROTTA submitted to the IRS Part II of his

  Voluntary Disclosure Application, which he signed under penalties of perjury. ROTTA falsely

  checked "no" in answer to Question 7 on Part II of the Voluntary Disclosure Application, which

  asked whether "anyone, including a foreign government or a foreign financial institution, advised

  you that your offshore account records, which are the subject of this voluntary disclosure, were

  susceptible to being turned over to the U.S. government pursuant to an official request." ROTTA

  had in fact been notified that the foreign account records that were the subject of his disclosure

  were susceptible to being turned over to the U.S. government. For example:

         a.      On or about April 24, 2018, Banque Bonhote's representatives informed ROTTA

  that the bank considered his Edelwiss and Sky Delta accounts could be subject to disclosure to the

  U.S. Department ofJustice.

         b.      In or around November 2018, Banque Bonhote notified ROTTA through his Swiss

  counsel that it had received a request from the U.S. Department of Justice to produce records

  related to the Edelwiss account.

         76.     Part II ofROTTA's Voluntary Disclosure Application also purported to explain the

  source offunds in the Credit Suisse and Banque Bonhote Edelwiss accounts and ROTTA's control

  over those funds. In his submission, ROTTA admitted, for the first time, that he owned and

  controlled Swiss bank accounts since the 1990s, but he falsely claimed that most of the assets in

                                                 28
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 29 of 44




  the Edelwiss accounts- approximately $13 million- came from CERNEA's father, to be held in

  trust for CERNEA. ROTTA claimed that $2 million in the accounts belonged to him, which he

  received in a payment from his first wife's father.

          77.    In Part II of ROTTA's Voluntary Disclosure Application, ROTTA purported to

  explain why CERNEA created trusts for the benefit of ROTTA and his son. ROTTA falsely

  claimed that it was understood that when he and CERNEA died, all the remaining funds would

  pass to ROTTA's son because CERNEA had no children. In fact, CERNEA had a son and a

  daughter.

          78.    In Part II of his Voluntary Disclosure Application, ROTTA also falsely claimed

  that he had attempted to come into compliance with his U.S. tax and reporting obligations. In fact,

  ROTTA had retained multiple attorneys to represent him in the IRS's audit and in Tax Court, and

  ROTTA used those attorneys to falsely claim that he did not have any foreign financial accounts.

          H.     ROTTA Used Sham Trust Structures to Bring his Money Back to the United
                 States.

          79.    Between 2019 and 2020, ROTTA caused the closure of The Majestic Trust's

  accounts at Swiss Bank 1 and directed the transfer of assets in those accounts to new accounts held

  in The Majestic Trust's name at JP Morgan Chase. Thereafter, ROTTA continued to actively

  manage The Majestic Trust's accounts at JP Morgan Chase, and regularly directed transfers for

  his benefit, though he continued to falsely claim that CERNEA received distributions from the

  trust

          80.    For tax years 2017 through 2020, ROTTA filed and/or caused the filing of false tax

  returns that falsely and fraudulently underreported his total income by, among other things, failing

  to report all the income generated by the assets in The Majestic Trust's accounts.
                                                   29
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 30 of 44




                                         COUNT ONE
                            (Conspiracy to Defraud the United States)

         81.     The allegations set forth in Paragraphs 1 through 80 of this Indictment are re-

  alleged and expressly incorporated herein as if copied verbatim.

         82.     From in or around 2010 through the present, in the Southern District ofFlorida and

  elsewhere, the defendants, DAN ROTTA, SERGIO CERNEA, Conspirator 1, and others, known

  and unknown to the grand jury, did knowingly and willfully conspire, confederate, and agree

  together and with others, both known and unknown to the grand jury, to defraud the United States

  by impeding, impairing, obstructing, and defeating the lawful government functions ofthe Internal

  Revenue Service ofthe United States Department ofTreasury, in the ascertainment, computation,

  assessment, and collection ofthe revenue, that is, ROTTA's federal income taxes.

                              Manner and Means of the Conspiracy

         83.     Among the manners and means by which ROTTA, CERNEA, and their

  conspirators carried out their conspiracy were the following:

         a.      ROTTA held assets in Swiss bank accounts using false names and nominee

  offshore corporate structures which were designed to conceal his ownership and control of those

  accounts from the IRS.

         b.      ROTTA and CERNEA falsely represented to Swiss authorities that ROTT A was a

  Brazilian citizen who lived and worked in Brazil and was therefore not a U.S. person subject to

  U.S. income tax to prevent the disclosure ofROTTA's Swiss bank account records to the IRS.

         c.      ROTT A and CERNEA caused Bonhote Trust to implement a new ownership

  structure for the Edelwiss accounts that falsely named CERNEA as the beneficial owner of the

  assets in those accounts. Despite that nominal change, ROTTA continued to control and use the
                                                 30
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 31 of 44




  assets in the Edelwiss accounts for his own benefit, without reporting their existence or the income

  they generated to the IRS.

         d.      ROTTA and CERNEA caused the opening of nominee domestic bank and financial

  accounts in CERNEA's name that ROTTA effectively maintained and controlled.

         e.      ROTTA, CERNEA, and others made, and caused others to make, false statements

  to the IRS regarding ROTTA's ownership and control of his foreign financial accounts and the

  assets contained therein.

         f.      ROTT A and CERNEA told false shifting stories to explain the source of the funds

  in ROTTA's foreign financial accounts to conceal ROTTA's ownership and control of the

  accounts and the assets held therein from the IRS. The consistent theme in these stories was

  ROTT A and CERNEA always traced the source of the funds to individuals who were deceased or

  beyond the jurisdiction of a United States court.

         g.      ROTTA, CERNEA, and others submitted, and caused others to submit, false

  documents to the IRS regarding ROTT A's ownership and control of his foreign financial accounts

  and the assets contained therein.

         h.      ROTTA submitted, and caused others to submit, a false petition to the United States

  Tax Court to conceal his ownership and control of his foreign financial accounts and the assets

  contained therein.

         1.      ROTT A and CERNEA caused the formation of sham trust structures ROTTA used

  to conceal his foreign financial accounts and income from the IRS.




                                                  31
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 32 of 44




         J.      ROTTA and CERNEA caused the opening of domestic and foreign bank and

  :financial accounts held in the names of the sham trusts to conceal ROTTA's ownership and control

  of the assets held in those accounts.

         k.      ROTTA transferred, and caused others to transfer, funds through attorney trust

  accounts and used funds in those attorney trust accounts for his personal expenses to conceal his

  ownership and control of foreign :financial accounts.

         1.      ROTTA submitted, and caused to be submitted, false information to his return

  preparers for use in the preparation of income tax returns.

         m.      ROTTA submitted, and caused to be submitted, false Forms 1040 that

  underreported his total income and failed to report his ownership and control of foreign :financial

  accounts.

         n.      ROTTA submitted, and caused others to submit, a Voluntary Disclosure

  Application to the IRS that contained false information, including falsely explaining most of the

  funds in ROTTA's foreign :financial accounts as belonging to CERNEA.

                                              Overt Acts

         84.     In furtherance of the conspiracy and to affect the illegal objects thereof, ROTTA,

  CERNEA, and their conspirators, in the Southern District of Florida and elsewhere, committed

  and caused to be committed the following overt acts, among others, each sub-paragraph constitutes

  a separate overt act:

         a.      In or around July 2010, ROTTA and CERNEA submitted false affidavits to the

  SFTA falsely representing that ROTTA was a Brazilian resident who was not subject to U.S.

  income tax.

                                                  32
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 33 of 44




         b.      In or around November 2011, ROTTA and CERNEA caused Credit Suisse and

  Banque Bonhote to falsely record on Forms A that CERNEA was the beneficial owner of the assets

  in the Edelwiss accounts.

         c.      In or around December 2011, ROTTA caused his Audit Representatives to falsely

  represent to the IRS that ROTTA did not have any foreign financial accounts.

         d.      In or around May 2012, ROTTA falsely told an IRS Revenue Agent that he did not

  have any foreign financial accounts or foreign business activity of any kind. ROTTA also caused

  his accountant and representative to falsely represent that he did not have any foreign financial

  accounts.

         e.      In or around October 2012, ROTTA falsely told an IRS Revenue Agent he did not

  have any foreign financial accounts. ROTTA also caused his attorney to falsely represent that

  ROTTA did not have any foreign financial accounts.

         f.      In or around November 2012, ROTTA falsely told an IRS Revenue Agent that he

  did not have any foreign financial accounts. ROTTA also falsely told the Revenue Agent that he

  did not have a safe deposit box either in 2008 (the year under audit) or at the time of the interview,

  in 2012.

         g.      Between 2012 and 2017, ROTTA, CERNEA, and Conspirator 1, provided, and

  caused others to provide, false loan documents to the IRS to support ROTTA's claim that money

  he received from Sky Delta and Edelwiss were loans.

         h.      On or about June 23, 2014, ROTTA and CERNEA caused the formation of The

  Sergio 2014 Trust, to enable ROTTA to conceal assets and income held in foreign and domestic

  bank and financial accounts.

                                                   33
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 34 of 44




         1.      On or about November 12, 2014, ROTTA provided false testimony under penalties

  of perjury regarding his unreported foreign financial accounts.

         J.      On or about May 20, 2015, ROTTA provided false testimony under penalties of

  perjury regarding his unreported foreign financial accounts.

         k.      On or about June 23, 2014, ROTTA and CERNEA caused the formation of The

  Sergio 2014 Trust, to enable ROTTA to conceal assets and income held in foreign and domestic

  bank and financial accounts.

         I.      In or around 2015, ROTTA and CERNEA caused the formation of The Majestic

  Trust, to enable ROTTA to conceal assets and income held in foreign and domestic bank and

  financial accounts.

         m.      In or around November 2016, ROTTA and CERNEA opened, and caused to be

  opened, financial accounts at Swiss Bank 1 in the name of The Majestic Trust.

         n.      In or around 2016, ROTTA caused the closure of the Edelwiss accounts and

  directed the transfer of the assets in those accounts to The Majestic Trust's accounts at Swiss

  Bank 1.

         o.      In or around January 2017, ROTTA caused false documents to be submitted to the

  IRS evidencing purported repayment of false loans.

         p.      In or around 2018, ROTTA and CERNEA caused The Majestic Trust to be

  amended to give the trustees the discretion to pay CERNEA so much of The Majestic Trusts' net

  income and/or principal as they determined.

         q.      Between in or around 2018 and 2021, ROTTA falsely told his accountant that

  CERNEA had received distributions from The Majestic Trust.

                                                 34
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 35 of 44




          r.      In or around 2019, ROTTA caused his Swiss wealth advisors to submit a false

  invoice to his return preparer that falsely characterized the non-deductible asset management fees

  they charged to The Majestic Trust as deductible "legal fees" to lower the trust's income.

          s.      In or around November 2019, ROTTA caused the submission of a false IRS

  Voluntary Disclosure Application that reported his previously undeclared foreign financial

   accounts, but falsely claimed that most of the funds in those accounts belonged to CERNEA.

          t.      In or around 2019, ROTTA used funds from The Majestic Trust's accounts at Swiss

  Bank 1 to purchase a luxury timepiece as a graduation gift for his son.

          u.      In or about April 2020, ROTTA provided his return preparer with a document that

   falsely identified the purchase of his son's graduation gift as a distribution to CERNEA.

          v.      On or about the dates listed below, ROTTA caused the submission of false Forms

   1040 to the IRS, including that the returns underreported his total income.



                              2010       Form 1040
                              2011       Form 1040       November 5, 2012
                              2012       Form 1040         June 10, 2013
                              2013       Form 1040        October 6, 2014
                              2014       Form 1040
                              2015       Form 1040
                              2016       Form 1040        March 31, 2017
                              2017       Form 1040        October 18, 2018
                              2018       Form 1040        March 10, 2019
                              2018      Form 1040X
                              2019       Form 1040
                              2019      Form 1040X         March 4, 2022
                              2020       Form 1040        Au ust 25, 2021

          All in violation of Title 18, United States Code, Section 371.



                                                   35
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 36 of 44




                                 COUNTS TWO through SEVEN
                           (Tax Evasion - Tax Years 2008 through 2013)

          85.    The Grand Jury hereby realleges and incorporates by reference, as though fully set

  forth herein, the allegations contained in paragraphs 1 through 80 of this Indictment.

          86.    Beginning in or around 2009 and continuing through in or around January 2017, in

   the Southern District of Florida and elsewhere, defendant DAN ROTTA did willfully attempt to

  evade and defeat a substantial part of the income taxes due and owing by ROTTA for tax years

   2008 through 2013, each year constituting a separate violation, by filing false Forms 1040, U.S.

   Individual Income Tax Returns, for those tax years, and by committing the following affirmative

   acts of evasion, among others:

          a.     In or around December 2011, ROTTA caused his representative to falsely represent

  to the IRS that he did not have any foreign financial accounts.

          b.     In or around May 2012, ROTTA falsely told an IRS Revenue Agent that he did not

  have any foreign financial accounts or foreign business activity of any kind. ROTTA also caused

  his accountant and representative to falsely represent that ROTTA did not have any foreign

  financial accounts.

          c.     In or around October 2012, ROTTA falsely told an IRS Revenue Agent he did not

  have any foreign financial accounts. ROTTA also caused his attorney to falsely represent that

  ROTTA did not have any foreign financial accounts.

          d.     In or around November 2012, ROTTA falsely told an IRS Revenue Agent that he

  did not have any foreign financial accounts. ROTTA also falsely told the Revenue Agent that he

  did not have a safe deposit box in 2008 (the year under audit) or at the time of the interview, in

  2012.
                                                  36
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 37 of 44




          e.      Between 2012 and 2017, ROTTA, CERNEA, and Conspirator 1 provided, and

   caused to be provided, false loan documents to the IRS to support ROTTA's claim that money he

   received from Sky Delta were loans.

          f.      On or about November 12, 2014, ROTTA provided false testimony under penalties

   of perjury regarding his unreported foreign financial accounts.

          g.      On or about May 20, 2015, ROTTA provided false testimony under penalties of

  perjury regarding his unreported foreign financial accounts.

          h.      In or around January 2017, ROTTA caused false documents to be submitted to the

   IRS evidencing repayment of the false loans.

          Each tax year in violation of Title 26, United States Code, Section 7201.




                                                  37
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 38 of 44




                               COUNTS EIGHT through SIXTEEN
                                  (Filing False Tax Returns)

         87.     The Grand Jury hereby realleges and incorporates by reference, as though fully set

  forth herein, the allegations contained in paragraphs 1 through 80 of this Indictment.

         88.     On or about the date set forth below in each count, in the Southern District of

  Florida, defendant DAN ROTTA, willfully made and subscribed the following false forms, each

  of which were verified by a written declaration made under the penalties of perjury and which

  ROTTA did not believe to be true and correct as to the following material matters, among others:



           8         2014       Form 1040        8/30/2015      Taxable Interest, Line 8a: $135,418
                                                                Total Income, Line 21: ($1,942,677)
                                                                Schedule B, Part III, Line 7(a): "No"
                                                                Schedule B, Part III, Line 7 : "No"
           9         2015       Form 1040        9/06/2016      Taxable Interest, Line 8a: $159,964
                                                                Total Income, Line 22: ($2,036,920)
                                                                Schedule B, Part III, Line 7 a : "No"
          IO         2016       Form 1040        3/31/2017      Taxable Interest, Line 8a: $161,919
                                                                Total Income, Line 22: ($1,992,131)
                                                                Schedule B, Part III, Line 7 a : "No"
          11         2017       Forni 1040      10/18/2018      Taxable Interest, Line 8a: $995,101
                                                                Total Income, Line 22: $1,223,332
          12        2018        Form 1040        3/10/2019      Taxable Interest, Line 2b: $342,348
                                                                Total Income, Line 6: $168,712
          13        2018        Amen,ded         8/26/2020      Taxable Interest, Line 2b: $290,530
                                Form 1040                       Total Income, Line 6: $21,737
          14        2019        Form 1040        8/22/2020      Taxable Interest, Line 2b: $274,924
                                                                Total Income, Line 7b: $93,396
          15        2019         Amended          3/4/2022      Taxable Interest, Line 2b: $295,774
                                Form 1040                       Total Income, Line 7b: $6,640
          16        2020        Form 1040        8/25/2021      Taxable Interest, Line 2b: $175,938
                                                                Total Income, Line 9: $6,344

         Each count in violation of Title 26, United States Code, Section 7206(1).



                                                  38
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 39 of 44




                                        COUNT SEVENTEEN
                                  (False Statements in a Document)

          89.     The Grand Jury hereby realleges and incorporates by reference, as though fully set

  forth herein, the allegations contained in paragraphs I through 80 of this Indictment.

          90.     On or about November 8, 2019, DAN ROTTA, in the Southern District of Florida,

   did willfully and knowingly make and cause to be made, and use and cause to be used, in a matter

  within the jurisdiction of the executive, legislative, or judicial branch of the government of the

  United States, a false writing or document, knowing the same to contain a materially false,

  fictitious, and fraudulent statement. ROTTA submitted a materially false Voluntary Disclosure

  Application of the IRS on or about November 8, 2019, in the Southern District of Florida, that

  contained false statements, including, but not limited to, the following: (i) that ROTTA had not

   been advised that his foreign financial accounts that were the subject of his disclosure application

  were susceptible to being turned over to the U.S. government; (ii) that the majority of the assets in

  his foreign financial accounts belonged to CERNEA; and (iii) that CERNEA had contributed the

   money to a trust for ROTTA and his son's benefit because CERNEA had no children. ROTTA

  well knew that (i) his accounts were subject to disclosure to the IRS, (ii) the assets in those accounts

  belonged to ROTT A, and (iii) that CERNEA had two adult children.

          In violation of Title 18, United States Code, Section 1001(a)(3).




                                                    39
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 40 of 44




                             COUNTS EIGHTEEN AND NINETEEN
                     (Failure to File FBARs - Calendar Years 2015 and 2016)

          91.     The Grand Jury hereby realleges and incorporates by reference, as though fully set

  forth herein, the allegations contained in paragraphs 1 through 80 of this Indictment.

          92.     On or about the dates set forth below, in the Southern District of Florida, defendant

   DAN ROTTA, did willfully fail to file with the U.S. Department of the Treasury an FBAR

   disclosing that he had a financial interest in, and signature and authority over, a bank, securities,

   and financial account in a foreign country, which had an aggregate value exceeding $10,000 during

  the years listed below:



           18           2015            June 30, 2016       Credit Suisse and Bonhote Edelwiss Accounts

           19           2016          October 15, 2017      Credit Suisse and Bonhote Edelwiss Accounts


          Each count in violation of Title 31, United States Code, Sections 5314 & 5322(a); 31

   Code of Federal Regulations, Sections 1010.350, 1010.306(c)-(d), and 1010.840(b).




                                                    40
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 41 of 44




                            DAVID A. HUBBERT
                            PRINCIPAL DEPUTY ASSISTANT ATTORNEY GENERAL



                            Sean Beaty, Senior Litigati
                            District Court No. A5501870
                            Mark Daly, Senior Litigation Counsel
                            District Court No. A5501435
                            Patrick Elwell, Trial Attorney
                            District Court No. A5502696
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                                               FOREPERSON




                                          41
                           UNITED33STATES
   Case 1:24-cr-20113-RS Document          DISTRICT
                                     Entered on FLSD COURT
                                                     Docket 03/22/2024 Page 42 of 44
                                         SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA
                                                                               24-20113-CR-SMITH/HUNT
                                                                     CASE NO.: ____________        _

v.
Dan Rotta and Sergio Cernea,                                         CERTIFICATE OF TRIAL ATTORNEY

_________________;/                                                  Superseding Case Information:
                Defendants.
Court Division (select one)                                          New Defendant(s) (Yes or No) Ydl:]I
   � Miami        [j Key West               □ FTP                    Number of New Defendants _2_
       □
      FTL            WPB□                                            Total number of new counts 19

I do hereby certify that:
  1.       I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
           witnesses and the legal complexities of the Indictment/Information attached hereto.
  2.       I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
           their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

  3.       Interpreter: (Yes or No) NG
           List language and/or dialect:                      B
  4.       This case will take ..lQ__ days for the parties to try.

  5.       Please check appropriate category and type of offense listed below:
           (Check only one)                          (Check only one)
           I    □ 0 to 5 days                     □ Petty
           II   □ 6 to 10 days                    □ Minor
           III � 11 to 20 days                    □ Misdemeanor
           IV D 21 to 60 days                     Ei Felony
           V D 61 days and over
  6.       Has this case been previously filed in this District Court? (Yes or No) N&;]
           If yes, Judge                               IE] Case No. ----,=-------------
  7.       Has a complaint been filed in this matter? (Yes or No) YdW
           If yes, Magistrate Case No. 1:24-MJ-2479-Reid
  8.       Does this case relate to a previously filed matter in this District Court? (Yes or No) Ydi!if
            If yes, Judge Martinez; Ruiz             II:] Case No. GJ 22-01 (Rotta Crime Fraud);24MC20899
 9.        Defendant(s) in federal custody as of ____________________
 10.       Defendant(s) in state custody as of ----------=,------------
 11.       Rule 20 from the             S District of                               EB
 12.       Is this a potential death penalty case? (Yes or No) Ndi!(
 13.       Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
           prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) Nd!EJ
 14.       Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office _prior
           to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) NdI:]
 15.       Did this matter involve the participation of or consultation with Magistrate Judge Eduardo I. Sanchez
           during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023? Ndl:]
 16.       Did this matter involve the participation of or consultation with now Magistrate Judge Marta Fulgueira
           Elfenbein during her tenure at the U.S. Attorney's Office, which concluded on March 5, 2024? N�

                                                               By:         --L-6�
                                                                         Sean Beaty, U.S. Dept. of Justice,Ta�ision
                                                                         DOJ Trial Attorney                         IE)
                                                                         Court ID No. la A5501870
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 43 of 44




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 24-20113-CR-SMITH/HUNT
                      CASE NO. -------------


                                    PENALTY SHEET

   Defendant's Name: DAN ROTTA

    COUNT    VIOLATION         U.S. CODE          MAX. PENALTY
    I        Conspiracy to     18U.S.C. § 371     Max Imprisonment: 5 years
             Defraud theUnited                    Max Fine: $250,000 or twice the greater of
             States                               the gross gain or loss
                                                  Max Supervised Release Term: 3 years
    2-7      Tax Evasion (2008 26 U.S.C. § 7201 Max Imprisonment: 5 years
             thru 2013)                           Max Fine: $250,000 or twice the greater of
                                                  the gross gain or loss
                                                  Max Su12ervised Release Term: 3 years
                                                  Costs of Prosecution
    8-16     Filing False Tax   26U.S.C.          Max Imprisonment: 3 years
             Returns (2014 thru § 7206(1)         Max Fine: $250,000 or twice the greater of
             2020)                              • the gross gain or loss
                                                  Max Supervised Release Term: 1 year
                                                  Costs of Prosecution
    17       False Statement in 18 u.s.c.         Max Imprisonment: 5 years
             a Document         § 1001(a)(3)      Max Fine: $250,000 or twice the greater of
                                                  the gross gain or loss
                                                  Max Suoervised Release Term: 3 years
    18-19    Failure to File    31U.S.C. § 5314 Max Imprisonment: 5 years
             FBARs (Reports of & 5322(a)          Max Fine: $250,000 or twice the greater of
             Foreign Bank                         the gross gain or loss
             Accounts)                            Max Su12ervised Release Term: 3 years
Case 1:24-cr-20113-RS Document 33 Entered on FLSD Docket 03/22/2024 Page 44 of 44




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                               24-20113-CR-SMITH/HUNT
                     CASE NO. __  _____ ____


                                   PENALTY SHEET

   Defendant's Name: SERGIO CERNEA

    COUNT    VIOLATION          US.CODE           MAX. PENALTY
    1        Conspiracy to      18 U.S.C. § 371   Max Imprisonment: 5 years
             Defraud the United                   Max Fine: $250,000 or twice the greater of
             States                               the gross gain or loss
                                                  Max SuQervised Release Term: 3 years
